











COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





TEXAS TECH UNIVERSITY HEALTH
SCIENCE CENTER AT EL PASO,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

RICKY L. GATLIN,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee. 

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No. 08-11-00056-CV

Appeal from
&nbsp;34th District Court

of El Paso County, Texas

(TC # 2007-2169)



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O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Texas Tech University Health Science Center at El Paso (TTHSC) brings this interlocutory
appeal from an order denying its plea to the jurisdiction.  We affirm.
FACTUAL SUMMARY
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Ricky L. Gatlin sustained an on-the-job injury in 2005 while employed by TTHSC as a
computer technician.  He filed a claim for workers’ compensation benefits.  On April 15, 2006,
TTHSC terminated Gatlin’s employment.  Gatlin filed a retaliatory discharge claim pursuant to
Section 451.001 of the Texas Labor Code.


  TTHSC filed a plea to the jurisdiction asserting that
there is no waiver of sovereign immunity for a retaliatory discharge claim.  The trial court denied
the plea and TTHSC timely filed notice of interlocutory appeal.  
SOVEREIGN IMMUNITY
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In its sole issue, TTHSC contends that the Legislature has not clearly and unambiguously
waived sovereign immunity from suit under Chapter 451 of the Texas Labor Code and it urges that
the Supreme Court’s prior decisions in City of LaPorte v. Barfield, 898 S.W.2d 288 (Tex. 1995) and
Kerrville State Hospital v. Fernandez, 28 S.W.3d 1 (Tex. 2000) should be re-examined in light of
the Legislature’s enactment of Tex.Gov’t Code Ann. § 311.034 (West Supp. 2010).  It further
argues that the Supreme Court’s decision in Travis Central Appraisal District v. Norman, 342
S.W.3d 54 (Tex. 2011) indirectly supports its position.  We have previously considered the same
arguments and rejected them.  See Texas Department of Aging and Disability Services v. Beltran,
No. 08-10-00085-CV, 2011 WL 3841297 (Tex.App.--El Paso Aug. 31, 2011, no pet. h.); Texas
Workforce Commission v. Olivas, --- S.W.3d ---, 2011 WL 3612207 (Tex.App.--El Paso Aug. 17,
2011, pet. filed); Texas Department of Family and Protective Services v. Parra, No. 08-10-00067-CV, 2011 WL 3240541 (Tex.App.--El Paso July 29, 2011, no pet. h.).  We overrule the sole point
and affirm the trial court’s order.


October 26, 2011&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;                                                                                    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ANN CRAWFORD McCLURE, Chief Justice

Before McClure, C.J., Rivera, J., and Chew, C.J. (Senior)



